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                                           No. 16-019C
                                      (Filed April 12, 2016)

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                                             *                                       U.S. COURT OF
BRET OGILVIE,                                *                                      FEDERAL CLAIMS
                                             *
                      Plaintiff,             *
                                             *
               V.                            *
                                             *
THE UNITED STATES,                           *
                                             *
                      Defendant.             *
                                             *
*************************************

                                            ORDER

       On January 4, 2016, the plaintiff, Bret Ogilvie, filed a complaint against the United States
for damages resulting from a property lien. Mr. Ogilvie did not include the filing fee with this
complaint or an application to proceed informa pauperis ("IFP form"). The clerk of this Court
mailed the plaintiff a copy of the IFP form, which was then sent back to the Court blank. On
March 8, 2016, the Court ordered the plaintiff to pay the filing fee or submit the completed IFP
within 14 days ofreceipt of the order.

        On March 21, 2016, Mr. Ogilvie again returned the blank IFP form. He also filed a
response to the Order, in which he asserts that he is serving as his own attorney and had sent a
bond to cover the filing fee. This Court does not accept bonds and has no record of receiving any
fee from the plaintiff since the start of this case. As Mr. Ogilvie did not comply with the March
gth Order, the Court DISMISSES this case. The Clerk shall enter the judgment accordingly.




                                                               ~~#· -
                                                               Judge

                                                               Fors/ EDWARD J. DAMICH
                                                               Senior Judge
